Case 20-10846 Doc 2039-1 Filed 01/31/23 Entered 01/31/23 17:06:07 Exhibit A - Proposed
                                 Order Page 1 of 2



                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF LOUISIANA
  In re:                          §
                                  §     Case No. 20-10846
  THE ROMAN CATHOLIC CHURCH       §
  OF THE ARCHDIOCESE OF NEW       §     Section “A”
  ORLEANS,                        §
                                  §     Chapter 11
         Debtor. 1                §
                                  §


                                                  ORDER

             Before the Court is T.G.’s Motion for Leave to File Sexual Abuse Survivor Proof of Claim

 [ECF No. 1965] (the “Motion for Leave”), filed by T.G., and the Joint Stipulation Concerning

 T.G.’s Motion for Leave to File Sexual Abuse Survivor Proof of Claim [ECF No. ___] (the “Joint

 Stipulation”), jointly filed by The Roman Catholic Church of the Archdiocese of New Orleans

 (the “Debtor” or “Archdiocese”) and T.G. (collectively, the “Parties”).

             Considering the Joint Stipulation filed by the Parties on the record in this case,

             IT IS ORDERED that the Joint Stipulation is APPROVED, and as set forth in the Joint

 Stipulation, T.G. may file a Sexual Abuse Survivor Proof of Claim, but the Archdiocese and all

 parties in interest maintain and reserve their rights to object to the claim on any basis including,

 but not limited to, that the claim is late filed. T.G. reserves his right to argue any defense to any

 objection, including, but not limited to, that the claim is allowable due to the concept of excusable

 neglect. The Court retains jurisdiction with respect to all matters arising from or related to the

 implementation of the Joint Stipulation.




         1
           The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s
 principal place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


 #100869418v1
Case 20-10846 Doc 2039-1 Filed 01/31/23 Entered 01/31/23 17:06:07 Exhibit A - Proposed
                                 Order Page 2 of 2



          New Orleans, Louisiana, _________ ___, 2023.



                                                  ____________________________________
                                                         MEREDITH S. GRABILL
                                                  UNITED STATES BANKRUPTCY JUDGE




                                              2
 #100869418v1
